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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION


DESERAE TURNER, individually; M.T.
and B.T., both minors, by and through their
mother, LEKISHA TURNER; and J.T.M.
and J.R.M., both minors, by and through           Case No. __________________
their mother, JESSICA MURRAY;
and JESSICA MURRAY, individually,
                                                  JURY TRIAL DEMANDED
                    Plaintiffs,

v.

FLOYD COUNTY SCHOOL DISTRICT;
BOARD MEMBER DR. MELINDA
STRICKLAND, Officially;
BOARD MEMBER CHIP HOOD,
Officially;
BOARD MEMBER DR. TONY DANIEL,
Officially;
BOARD MEMBER JAY SHELL,
Officially;
BOARD MEMBER. DANNY WAITS,
Officially;


                    Defendants

                                   COMPLAINT


       1.       This civil rights action is brought by five students at Coosa High

 School (“Coosa High” or “the school”), by and through their respective mothers,

 Lekisha Turner (“Ms. Turner”) and Jessica Murray (“Ms. Murray”) and Ms. Murray


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individually. Coosa High is a public educational institution maintained by

Defendant Floyd County, Georgia Board of Education (“Defendant” or “the

Board”). The individual named defendants are policymaking officers of the Board,

and named in their official capacity.

      2.       Defendant FCSD is a public school system vested with the

constitutional duty “to establish and maintain public schools” within its

geographical limits. Ga. Const. art. VIII, § 5 ¶ I. FCSD is governed by the Floyd

County Board of Education, which is charged with the duty to maintain

“management and control” of the FCSD school system. Ga. Const. art. VIII, § 5, ¶

II. The discriminatory and unconstitutional actions of Coosa High are derived from

policies adopted by Defendants. The conduct of Coosa High’s administrators as

described herein are also the acts and omissions of Defendants.

      3.       Plaintiffs, who are African-American, challenge Coosa High’s

deliberate indifference to acts of racial animosity toward Black students perpetrated

by white students and teachers; as well as the school’s viewpoint discrimination in

its dress code and the inconsistent administration of disciplinary policies to the

detriment of Black students. Defendants’ conduct, as outlined herein, violates

Plaintiffs’ rights to Equal Protection under the Fourteenth Amendment; their right

to free speech under the First Amendment; and their right to be free from race




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discrimination and retaliation under Title VI of the Civil Rights Act of 1964, 42

U.S.C. § 2000d, et seq.

      4.       School administrators at Coosa High have engaged in an egregious

pattern of deliberately ignoring Plaintiffs’ complaints (and complaints from other

Black students and their parents) about repeated incidents of racial intimidation and

bigotry at Coosa High, which have included but are not limited to: a reenactment of

George Floyd’s murder in a school hallway; a student wearing a Confederate flag

belt and addressing Black students as “slaves”; a white student’s brandishing of

what appeared to be a whip and informing Black students that “we used to whip you

with this”, or words similar; white students’ open use of racial slurs, including

“n*****”; the posting of racist remarks and threats on social media; and overtly

racist remarks by white teachers.

      5.       The school’s dress code and disciplinary policies create an

atmosphere where certain viewpoints including white nationalism and white

supremacy are permitted but speech of an ideologically different viewpoint is

expressly prohibited. The school’s dress code is emblematic of these unlawful

policies. Under the school’s dress code, which is promulgated by the Board, school

officials permit the wearing of any and all Confederate flag apparel (e.g. belt,

hoodies, hats, the flag itself) but simultaneously prohibit the wearing of any and all




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“Black Lives Matter” or related thematic messaging (e.g. a shirt with George

Floyd’s image).

      6.       Similarly, while white students are permitted to make Snapchat posts

stating they wish they “had a gun to kill n******”, M.T. was told that if she

continued to post about racial discrimination at the school, she would be expelled.

      7.       In October 2021, during the school’s Spirit Week, the school’s

flagrant viewpoint discrimination came into acute focus. That week a group of

white students were permitted to carry a large Confederate flag1 around school

grounds for the course of an entire day without any repercussions. In response to

this incident, a racially diverse coalition of students banded together to protest the

Confederate flag and its invocation to them of a pro-slavery, anti-Black ideology

and Coosa High’s tolerance of the symbol. The protest was scheduled to take place

in between classes during breaks and off school grounds, and was therefore

calculated to be non-disruptive.

      8.       However, the school forcefully acted to shut the protest down before it

even began. The day before the scheduled protest, the school issued an

announcement over the intercom that the protest was prohibited and that students in

possession of a flier could be subjected to discipline. The school imposed


1The flag referenced was the flag of a violent insurrection against the United States and its
Constitution between 1861 and 1865 by a group of states that proclaimed themselves the
Confederate States of America.
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disciplinary sanctions exclusively against Black student organizers of the protest

despite the equal participation in the planning of the event by white and non

African-American students. Consequently, Plaintiffs Deserae Turner, M.T., B.T.,

and J.R.M. all received five-day suspensions for their role in planning the protest;

while white student organizers who helped organize the protest and distribute

flyers, and who even ran through the halls screaming “Protest at Coosa tomorrow”,

failed to receive any discipline.

      9.       The school’s prohibition against students organizing a rally against

the Confederate flag and its punishment of exclusively the Black student organizers

gained widespread national media attention.2

      10.      Thereafter, the school engaged in retaliatory conduct against J.R.M.,

her sister J.T.M., and their mother Plaintiff Jessica Murray. Following the thwarted

protest, J.R.M. and J.T.M. received further discipline for such minor infractions as

sitting with the wrong class during school programs in the gym. Coosa High and

the Board banned their mother, Plaintiff Jessica Murray, from school grounds --
2       See, e.g., Denise Dillon, No Protest Allowed after Confederate Flag Spotted on High
School Campus, Fox5 Atlanta, Oct. 8, 2021, available at https://www/fox5atlanta.com/news/no-
protest-allowed-after-confederate-flag-on-campus (last accessed March 21, 2022); Brad Reed,
Georgia School Suspended Black Students For Planned Protest Against Confederate Flag,
Salon, Oct. 13, 2021, available at https://www.salon.com/2021/10/12//georgia-school-suspends-
black-students-for-planned-against-
flag_partner/#:~:text=Several%20Black%20students%20at%20the%20Coosa%20High%20Sch
ool,brandishing%20the%20Confederate%20flag%20while%20hurling%20racial%20slurs (last
accessed March 21, 2022); Christian Spencer, After White Students Displayed Confederate Flag
at School, Black Students Suspended for Planning Protest, The Hill, October 14, 2021, available
at https://the hill.com/changing-america/respect/equality/576752-after-white-students-displayed-
confederate-flag-at-school (last accessed March 21, 2022).
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serving her with a letter threatening criminal trespassing charges on the same day it

served her daughter J.R.M. with a suspension for planning the protest.

      11.     Deserae Turner and the minor child Plaintiffs allege, by and through

their respective mothers, Lekisha Turner and Jessica Murray, (collectively

“Plaintiffs”) that Defendants violated Title VI of the Civil Rights Act of 1964, 42

U.S.C. § 2000d, et seq., by disciplining them in retaliation for protesting what they

reasonably believed was discrimination by the school, i.e, the condoning of anti-

Black viewpoints; and by selectively disciplining them on the basis of race, when

white students similarly situated in all material aspects were not punished.

      12.     Plaintiffs allege that Defendants have violated the First Amendment

of the U.S. Constitution, as applied to the states through the Fourteenth

Amendment, by the following acts: forbidding Coosa High students from wearing

“Black Lives Matter” messaging to school, while permitting Confederate flag

apparel; disciplining students for planning a peaceful protest that had been designed

not to interfere with the school day; by not allowing students to hold a peaceful

protest against imagery they perceived as anti-Black racism; and by forbidding

students from posting on social media content regarding racial animosity they had

experienced at the school, while failing to discipline white students who made

virulently racist comments on social media.




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         13.     Plaintiffs allege that Defendants have violated the Equal Protection

Clause of the Fourteenth Amendment, by denying Plaintiffs the right to equal

access to an educational environment free from harassment and discrimination on

the basis of race.

         14.     Among other relief as prayed for herein, Plaintiffs seek injunctive

relief in this action, including an amendment of the school dress code to prohibit

discrimination based on political or ideological viewpoints; and the expungement of

the Plaintiffs’ disciplinary records to remove all sanctions or discipline for planning

the October 2021 anti-racism protests, and any discipline taken thereafter against

Plaintiffs in retaliation for planning said protest.

    I.         PARTIES

         15.     Plaintiff Deserae Turner is a legal adult and an eighteen-year-old

Black student at Coosa High. She lives in Cave Springs, Georgia.

         16.     M.T. is a sixteen-year-old black student at Coosa High. She lives in

Cave Springs, Georgia, with her mother.

         17.     D.T. is a sixteen-year-old black student at Coosa High. She lives in

Cave Springs, Georgia, with her mother.

         18.     Plaintiff Lekisha Turner is the mother of M.T., D.T., and Deserae

Turner. Ms. Turner brings this action on behalf of her minor daughters. She is

Black.


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      19.    J.R.M. is a fifteen-year-old Black student at Coosa High. She lives in

Rome, Georgia, with her mother.

      20.    J.T.M. is a sixteen-year-old Black student at Coosa High. She lives in

Rome, Georgia, with her mother.

      21.    Plaintiff Jessica Murray is the mother of J.R.M. and J.T.M. Ms.

Murray brings this action on behalf of her minor daughters and alleges her own

retaliation claim under the Speech Clause of the First Amendment. She is Black.

      22.    Coosa High is located at 4454 Alabama Hwy, Rome, Georgia, 30165,

within Floyd County, and is a public educational institution maintained by the

Floyd County Board of Education.

      23.     Defendant FCSD is a public school system vested with the

constitutional duty “to establish and maintain public schools” within its

geographical limits. Ga. Const. art. VIII, § 5 ¶ I. FCSD is governed by the Floyd

County Board of Education, which is charged with the duty to maintain

“management and control” of the FCSD school system. Ga. Const. art. VIII, § 5, ¶

II.

      24.    The Board maintains its administrative offices at 600 Riverside

Parkway, N.E. Rome, Georgia, 30161-2938.




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    II.     JURISDICTION AND VENUE

      25.      This Court has general federal question jurisdiction over this matter,

pursuant to 28 U.S.C. § 1331, as this case arises under federal law, namely Title VI

of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et seq. and the First

Amendment of the U.S. Constitution.

      26.      The Northern District of Georgia is a proper venue for this action,

pursuant to 28 U.S.C. § 1391(b)(2), because the events giving rise to the claim took

place in Rome, Georgia.

    III.    STATEMENT OF FACTS

      27.      Deserae Turner, at the time of the filing of this complaint, is a junior

at Coosa High. She is Black.

      28.      M.T., at the time of the filing of this complaint, is a junior at Coosa

High. M.T. is Black.

      29.      B.T., at the time of the filing of this complaint, is a freshman at Coosa

High. B.T. is Black.

      30.      J.R.M., at the time of the filing of this complaint, is a sophomore at

Coosa High. J.R.M. is Black.

      31.      J.T.M., at the time of the filing of this complaint, is a junior at Coosa

High. J.T.M. is Black.



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      32.     Kristen Martin, at the time of the filing of this complaint, is an

assistant principal at Coosa High. Ms. Martin is white.

      33.     Dr. Miriam McGhee, at the time of the filing of this complaint, was an

assistant principal at Coosa High. Dr. McGhee is white.

      34.     Judson Cox, at the time of the filing of this complaint, is the current

principal at Coosa High; he began serving in the position effective July of 2021.

Mr. Cox is white.

      35.     LaDonna Turrentine is the former principal at Coosa High. She left

the position effective July of 2021. Ms. Turrentine is white.

Reports of Racial Animosity at Coosa High School and the School’s Deliberate
Indifference

      36.     Plaintiffs have experienced a pattern at Coosa High of overt bigotry

and animosity by some white students and teachers against African American

students. Plaintiffs have repeatedly reported instances of this open racism to school

officials to no avail; school officials have taken no actions to address or prevent

these reported incidents of intimidation and racial bigotry and, in some instances,

have even catered to the perpetrators by disciplining Black students who attempted

to speak out against racial animosity at Coosa High.

      37.     In late May of 2021, three students at Coosa High reenacted the

killing of George Floyd in the school hallway. Two white students played the role

of police officers and a biracial student played the role of George Floyd. One of the
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white students yelled out “I’m about to kill this n****” then put a knee on the

biracial student’s neck. That student posted the reenactment to social media as part

of a #Georgefloydchallenge. The incident was observed by school officials and no

discipline occurred.

      38.     This same white student has published other posts to the social media

platform Snapchat, in which he uses the racial slur “n*****”. In one post he states

that he wishes he “had a gun to kill all n******.” These posts have been shared

with and reported to school officials.

      39.     Deserae Turner and M.T. both reported the George Floyd reenactment

to (then) Principal Turnertine. M.T. in particular, manifested emotional distress at

the episode. In response, M.T. was warned that she would need to get her emotions

“under control” and was threatened with expulsion if she posted about the incident

on social media. Ms. Turnertine even expressed concern for the white student’s

safety if the incident was posted on social media.

      40.     Plaintiff Lekisha Turner also reported the incident to Assistant

Principal McGhee.

      41.     Following this incident and other reports of racial animosity

perpetrated by the white student who had participated in the reenactment and posted

threats and racial slurs to social media, Coosa High School assigned a Resource

Officer (what the school calls in-school police) to escort this white student to and


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from classes, for his safety. There is no evidence of similar protective actions to

shield Black students who might have been terrorized by a reenactment of the Floyd

murder and/or a reference to killing Blacks on this white student’s social media.

      42.       In early August 2021, M.T. also reported to Assistant Principal Martin

that she had been called a n**** by an eleventh-grade white student, who held a

Confederate flag over her head while he called her this racial slur. Martin’s

response was that M.T. should go back to class because she did not have proof of

the incident.

      43.       In mid-August 2021, a white student wore a belt with a Confederate

flag belt insignia to school. While students were waiting to catch the school bus,

J.T.M. asked the student about his choice of apparel. The white student stated in

reply: "I cannot help that y'all were slaves and picking cotton," then proceeded to

use the racial slur “n*****”. Upon information and belief, Assistant Principal

Martin was within earshot and overheard this student’s comments and use of racial

slurs. Plaintiffs Turner and Murray also both separately reported the incident to

Assistant Principal Martin. Upon information and belief, no action was taken

against this white student for either his racist remarks or his wearing of Confederate

flag apparel to school.

      44.       In late August or early September 2021, Black students at Coosa High

reported other incidents of racist remarks being posted by white students on social


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media. Students told Assistant Principal Martin that yet another white student had

posted racial videos on SnapChat, in which this student used the terms "nappy

headed nigglets" and "n******" while laughing.

       45.     This same white student also called M.T. and other Black students

"gator bait" during class and while in the hallways. This term has a history as a

racial slur.

       46.     M.T. reported these comments by the white student to Ms. Williams, a

substitute teacher who is white; Ms. Williams told M.T. that she should not be

offended by the use of racial slurs.

       47.     Black students, including M.T., continued to report this student’s

racist behavior to Assistant Principal Martin, who told M.T. that she should stop

reporting such incidents. Other Black students and their parents also continued to

report comments made by this same white student. In response, rather than

discipline the student, the school began having Resource Officers escort her to and

from class for her “safety”.

       48.     Deserae Turner, M.T., and other Black students also reported to

Assistant Principal Martin another white student at the school posting a picture on

Snapchat of a Black baby in a bucket with the caption "Niglet for sale. $42.11 non-

negotiable price. We suggest keeping him in a bucket because he runs away. Can

grow up to 6'8 if there is no father figure." Ms. Martin told the students that there


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was nothing the school could do, although the posts were being shared and

discussed on school grounds.

      49.     This same white student also called B.T. and her friends “n******” in

the school locker room; the incident was reported to school officials.

      50.     Plaintiffs have also reported to school officials instances of racially

biased behavior by teachers at the school.

      51.     For example, Plaintiff LeKisha Turner reported to Assistant Principal

that the substitute teacher Ms. Williams mused that she did not understand why

white students could not use the word “n*****”.

      52.     On information and belief, multiple complaints were made about

Coach Ross, a social studies teacher, who would regularly invoke racial stereotypes

by comments including asking the Black students if they could swim and

commenting that as Black people, they must love watermelon and could not refrain

from eating fried chicken.

      Dress Code Policy

      53.     Floyd County Board of Education maintains a dress code policy that

prohibits “clothing [] that is viewed as distracting” or “other attire deemed to be

indecent, inappropriate, or disruptive to the school learning environment.” Such

violations are to “be addressed by school administrators on an as-needed basis” and

where “questions arise, the principal, or designee, shall determine whether a


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particular mode of dress [] results in interference, disruption, unsafe conditions, or

has an indecent or vulgar appearance.” See Floyd County Schools 2021/2022

Student Handbook, Grades 8-12, available at FY 22 HS Handbook .pdf

(schoolwires.net).

      54.     Administrators at Coosa High have interpreted this district wide code

to permit the wearing of Confederate flag apparel while construing it to prohibit

students from wearing “Black Lives Matter” messaging or images.

      55.     White students at Coosa High regularly wear Confederate flag apparel

such as Confederate flag hoodies, belts, and hats. Plaintiffs have seen white students

wear some version of Confederate flag apparel to school almost every other day.

      56.     The school permits faculty to display paraphernalia supporting former

President Donald Trump. For example, Ms. Clark, an algebra teacher, had a Trump

MAGA (“Make America Great Again”) banner on display in her classroom for the

calendar year 2021. At one point, after Trump’s defeat in the 2020 election, a

student asked Ms. Clark for whom she had voted, and the teacher responded by

pulling out and holding up a banner that said “TRUMP” in large letters and

exclaiming “Trump 2024, baby!”

      57.     However, the school has expressly prohibited Plaintiffs from wearing

Black Lives Matter messaging on the grounds that it is disruptive and controversial.




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      58.      For example, after M.T. wore a shirt to school with the acronym

“BLM” (for Black Lives Matter), she was told by a school official that the shirt

violated the dress code. She was told she had to wear the shirt inside out for the

remainder of the day if she wanted to avoid being sent home or otherwise

disciplined.

      59.      As another example, J.R.M. wore a shirt to school with the image of

George Floyd on it and was told the image was “distracting.” Plaintiff Jessica

Murray was called by school officials and told she would have to pick up her

daughter if she continued to wear the shirt; J.R.M. turned her shirt inside out to

avoid being sent home.

      60.      Plaintiff Lekisha Turner made multiple complaints about the obvious

viewpoint discrimination behind the application of the dress code. She was told by

Assistant Principal Martin that while the dress code forbids any clothing that could

cause a disruption (and asserted to her that “Black Lives Matter” met the disruption

standard), that the Confederate flag represents “heritage not hate” and is a point of

pride rather than disruption.

      During Coosa High’s “Spirit Week”, Several Incidents Occur Related to
      Confederate Symbols

      61.      In early October of 2021, Coosa High School conducts “Spirit Week”,

a homecoming style week with specific theme days such as “farm day”.



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       62.     During “Spirit Week”, one white student carried what appeared to be

a whip around school on his shoulder. When asked by a Black student what the

whip was, the student replied “you should know what this is, we used to whip you

(or y’all) with this.”

       63.     Later that week, on “Farm Day”, two white students wore Confederate

flag apparel, and several white students took turns carrying a large Confederate flag

around campus the entire day.

       64.     Deserae Turner, M.T., and D.T. reported the students carrying the

Confederate flag around campus to Principal Cox. M.T. had earlier notified Ms.

Martin at the end of homecoming week that this same student had been draped in a

Confederate flag during the school day.

       65.     J.R.M. also reported students carrying around the Confederate flag to

school officials. Her mother, Plaintiff Jessica Murray, emailed Principal Cox that

same day that a student was wearing a Confederate flag around campus.

       66.     No action whatsoever was taken concerning the Confederate flag

being carried by the white students.

       Students Plan a Protest Against the Display of the Confederate flag at the
       School, and the School Disciplines and Retaliates Against Black Student
       Organizers

       67.     In response to white students wearing the Confederate flag to school

during spirit week, and Coosa High’s blatantly selective enforcement of its dress


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code regarding political or ideological speech, Plaintiffs M.T. and J.R.M and

approximately two other students began to organize a peaceful protest against

racism and the dress code at Coosa High School.

      68.     The protest was scheduled to take place on or about October 8, 2021.

The students planned for the protest to take place during breaks between classes and

away from school grounds. The students distributed hard copy flyers and posted a

virtual flyer about the protest on Snapchat to encourage other students to attend.

      69.     Other student organizers joined to help post and distribute flyers and

to publicize the event. For example, two students (one who is Latino and another

who is white) helped distribute fliers in school hallways and the parking lot. J.R.M.

and Deserae Turner both posted about the protest on their social media accounts.

      70.     When the school administration learned of the planned protest,

however, the school immediately moved to stop it.

      71.     The morning before the protest, Deserae Turner was called into the

principal’s office. Principal Cox told her that she could go to jail for instigating a

“riot”. Two Resource Officers were also present in Principal Cox’s office for this

conversation, as well as Assistant Principal Martin; Plaintiff Deserae Turner felt

intimidated by the Resource Officers and school officials during this meeting.

      72.     The principal of Coosa High School then made an intercom

announcement warning that the protest would not be allowed and that any student


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participating in the protest would be disciplined. The principal also ordered any

student in possession of a flyer to turn it over to the administration immediately,

and that the possession of the flyer was a basis for discipline.

      73.     Deserae, M.T., B.T., J.R.M., and J.T.M. each received five-day

suspensions for their roles in organizing the protest.

      74.     However, the white students who planned the protest were not

suspended. At least one (of the approximately three) white student organizers even

ran through the hallways yelling “Protest at Coosa tomorrow!” without any

disciplinary action against them.

      75.     The day her daughter was suspended, Plaintiff Jessica Murray drove

to the school to pick up J.R.M. and Plaintiff Turner’s daughters, Deserae Turner,

M.T. and B.T. On her way home, Ms. Murray was pulled over and detained by a

police officer, until school officials arrived to serve her with her daughter’s

suspension papers. School officials also served her with a letter, informing her that

she was not allowed back on school grounds and that, if she were to be on Coosa

High School grounds again, the police would be called and she would be charged

with criminal trespass.

      76.     Plaintiffs Jessica Murray and Lekisha Turner have both previously

submitted several complaints of racial discrimination at the school to Coosa High

School administration.


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       77.     J.T.M. and J.R.M. have been subjected to more retaliatory discipline

since being disciplined for the planned protest. This discipline has included J.R.M.

receiving a suspension for sitting on the wrong side of the gym (with the wrong

class) during homeroom and for attempting to call her mother, Plaintiff Turner,

before being escorted to the principal’s office for this infraction.

       78.     Upon information and belief, a number of Black students have

recently transferred out of Coosa High, due to the prevalence on campus of racist

symbols and language and the school’s indifference to it.



                                      COUNT I
                                (as to all Defendants)
                             Denial of Equal Protection
        in violation of the Fourteenth Amendment to the U.S. Constitution
                                and 42 U.S.C. § 1983

       79.     Plaintiffs reallege and incorporate the above paragraphs by reference

as if fully set forth herein.

       80.     Defendants have violated Plaintiffs’ right to Equal Protection under

the Fourteenth Amendment, by demonstrating deliberate indifference to evidence of

racist remarks and actions by white students and white teachers against them and

for inconsistently applying Coosa High’s disciplinary policies to the detriment of

Black students, including Deserae Turner, M.T., B.T., J.R.M., and J.T.M.




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                                    COUNT II
                              (as to all Defendants)
 Infringement on Free Speech (by Dress Code and other Disciplinary Policies)
         in violation of the First Amendment to the U.S. Constitution
                              and 42 U.S.C. § 1983

       81.     Plaintiffs reallege and incorporate the above paragraphs by reference

as if fully set forth herein.

       82.     Coosa High’s dress code, as originally adopted by Defendants, is

unconstitutional because it discriminates based on viewpoint in violation of the First

Amendment of the U.S. Constitution, as applied to the states through the Fourteenth

Amendment.

       83.     Coosa High’s enforcement of its social media policy, as originally

adopted by Defendants, is also unconstitutional because it discriminates based on

viewpoint in violation of the First Amendment of the U.S. Constitution, as applied

to the states through the Fourteenth Amendment.



                                    COUNT III
                               (as to all Defendants)
       Infringement on Free Speech (for Punishment for Planned Protest)
          in violation of the First Amendment to the U.S. Constitution
                               and 42 U.S.C. § 1983

       84.     Plaintiffs reallege and incorporate the above paragraphs by reference

as if fully set forth herein.




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       85.     Defendants’ discipline of Deserae Turner, M.T., B.T., J.R.M., and

J.T.M. for planning a peaceful protest that would not have disrupted the school day,

against a symbol that they perceived as reflective of a racist and white supremacist

ideology, violates the First Amendment of the U.S. Constitution, as applied to the

states through the Fourteenth Amendment.


                                       COUNT IV
                                  (as to all Defendants)
                                  Race Discrimination
                       in violation of Title VI, 42 U.S.C. § 2000d

       86.     Plaintiffs reallege and incorporate the above paragraphs by reference

as if fully set forth herein.

       87.     Defendants’ failure to address incidents of racism by white students

and its discipline of Deserae Turner, M.T., B.T., J.R.M., and J.T.M. (but not white

students) who planned to protest the school’s dress code violated Title VII, 42

U.S.C. § 2000d.

                                        COUNT V
                                  (as to all Defendants)
                                        Retaliation
                       in violation of Title VI, 42 U.S.C. § 2000d

       88.     Plaintiffs reallege and incorporate the above paragraphs by reference

as if fully set forth herein.

       89.     Defendants’ discipline of J.R.M. and J.T.M. and the retaliatory actions

taken against them as well as their mother, Plaintiff Jessica Murray, for opposing
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racial animosity and reporting racial bias by students and teachers; as well as

Defendants’ subsequent failure to address incidents of racial animosity Plaintiffs

complained about, violates Title VI, 42 U.S.C. § 2000d.



                                      JURY DEMAND

       Plaintiffs request a trial by jury on all claims.

WHEREFORE, Plaintiffs request that this Court enter the following relief:


    1. Find and declare that Defendants’ conduct, as described herein and taken
       against Plaintiffs, constitutes race discrimination and retaliation in violation
       of Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et seq.;

    2. Find and declare that Defendants’ conduct, as described herein and taken
       against Plaintiffs, violated Plaintiffs’ right to Free Speech under the First
       Amendment of the U.S. Constitution;

    3. Find and declare that the dress code as described herein, on its face, violates
       Plaintiffs’ right to Free Speech under the First Amendment of the U.S.
       Constitution;

    4. Find and declare that Defendants’ conduct, as described herein, and the dress
       code as described herein, on its face, violates Plaintiffs’ right to Equal
       Protection under the Fourteenth Amendment of the U.S. Constitution;

    5. Issue a permanent injunction, requiring Defendants to comply with federal
       law, including by enjoining the Defendants from any continuing punishment
       or sanction against Plaintiffs on account of their constitutionally protected
       speech and expunging from Plaintiffs’ school records all references to the
       incidents in question;

    6. Award damages that may be appropriate, in an amount to be determined at
       trial;


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  7. Award all costs and attorneys’ fees incurred prosecuting this action;

  8. Grant any other relief to which Plaintiffs may be entitled as this Court deems
     just and appropriate.


Dated: May 17, 2022

                                     Respectfully submitted,


                                     DESERAE TURNER, individually; M.T.
                                     and B.T., both minors, by and through their
                                     mother, LEKISHA TURNER; and J.T.M.,
                                     and J.R.M., both minors, by and through
                                     their mother, JESSICA MURRAY;
                                     JESSICA MURRAY, individually.


                                     By their attorneys,


                                     /s/ Harry M. Daniels
                                     Harry M. Daniels
                                     The Law Offices of Harry Daniels
                                     233 Peachtree St NE Suite 1200
                                     Atlanta GA 30303\
                                     404-620-6110
                                     Georgia Bar NO. 234158
                                     daniels@harrymdaniels.com

                                     Artur Davis
                                     HKM Employment Attorneys LP
                                     2024 3rd Ave. North Suite 307
                                     Birmingham AL 35203
                                     205-881-0935
                                     (pro hac vice application to be submitted)
                                     adavis@hkm.com



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                            Shannon Liss-Riordan
                            Anastasia Doherty
                            LICHTEN & LISS-RIORDAN, P.C.
                            729 Boylston Street, Suite 2000
                            Boston, MA 02116
                            (617) 994-5800
                            (pro hac vice applications to be submitted)
                            sliss@llrlaw.com
                            adoherty@llrlaw.com




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